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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


RONALD A. SHREEVE and
LINDA C. COSTOPULOS, Trustee of
the Linda C. Costopulos Trust dated
December 15, 2014,
                                          Case No.
                 Plaintiffs,
                                          Hon.
v.

ROBERT NAHRA; NADYA NAHRA;
CHRIS RAYES, in his individual and
official capacities; and
The CITY OF ST. CLAIR SHORES, a
Michigan municipal corporation,

               Defendants.
__________________________________________________________________/
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__________________________________________________________________/

                               COMPLAINT

     NOW COME Plaintiffs, Ronald A. Shreeve and Linda C. Costopulos,

Trustee of the Linda C. Costopulos Trust dated December 15, 2014, by and
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through their attorneys, O’Reilly Rancilio P.C., and for their Complaint state as

follows:

                                      PARTIES

      1.     Plaintiffs Ronald A. Shreeve and Linda C. Costopulos, Trustee of the

Linda C. Costopulos Trust dated December 15, 2014 (collectively “Plaintiffs”) are

the owners of waterfront property located at 33444 Jefferson Avenue, St. Clair

Shores, Michigan 48082.

      2.     Defendants Robert Nahra and Nadya Nahra (collectively “Nahras”)

are the owners of waterfront property located at 33434 Jefferson Avenue, St. Clair

Shores, Michigan 48082, which is immediately to the south of Plaintiffs’ property.

      3.     Defendant Chris Rayes (“Rayes”) is the Community Development

Director for the City of St Clair Shores who, at all time relevant hereto, acted under

color of state law in his individual and official capacities.

      4.     Defendant City of St. Clair Shores is a Michigan municipal

corporation located in Macomb County, State of Michigan.


                          JURISDICTION AND VENUE

      5.     This action arises under the Constitution and laws of the United

States. Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1331. This

Court has supplemental jurisdiction over Plaintiffs’ claim arising under state law

pursuant to 28 U.S.C. § 1367(a).

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         6.    Plaintiffs’ claims for damages are authorized under 42 U.S.C. § 1983,

and by the general legal and equitable powers of this Court.

         7.    Plaintiffs’ claim for an award of their reasonable costs of litigation,

including attorneys’ fees and expenses, is authorized by 42 U.S.C. § 1988, and

other applicable law.

         8.    Venue is proper under 28 U.S.C. § 1391(b) because a substantial part

of the events or omissions giving rise to Plaintiffs’ claims occurred in this district.


                             STATEMENT OF FACTS

         9.    Plaintiffs and the Nahras are next-door neighbors on Jefferson Avenue

in the City of St. Clair Shores (“City”), each owning property that abuts Lake St.

Clair.

         10.   Plaintiffs’ property is immediately to the north of the Nahras’s

property.

         11.   The Nahras’s property is zoned RA-LB (One Family Lakeshore).

         12.   Under the City’s Zoning Ordinance (“Zoning Ordinance”), the height

of residential structures in the RA-LB District is limited to 2 stories and 30 feet.

         13.   Technically, under the Zoning Ordinance, exceptions to the height

requirement in the RA-LB District must be approved by City Council.




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      14.    Regardless of this fact, in 2018, the Nahras filed an application with

the City’s Zoning Board of Appeals (“ZBA”) seeking a variance to increase the

height of their home to 38 feet (43 feet for a turret) as well as for a 3rd story so that

the Nahras could have a walkout basement to see Lake St. Clair.

      15.    When an applicant applies for a variance in the City, the application

expressly states that “Applicant shall be deemed responsible for the accuracy of all

information submitted to the City of St. Clair Shores. Failure to provide accurate

and complete information or to make false statements may cause the Board to

rescind its decisions until the Board is satisfied.”

      16.    As part of this application, the Nahras submitted a site plan to the

ZBA showing that the vast majority of the home would have 153 foot setback from

Lake St. Clair, with a 138 foot setback on the southern end where the Nahras

would build a porch, at or near, ground level. (Exhibit A, ZBA Site Plan.)

      17.    With these proposed setbacks, the Nahras’s represented that, if the

variances were granted, their home would be in line with Plaintiff’s home.

      18.    This fact is critically important because if the home was out of line

with Plaintiffs’ home and closer to the seawall, the home would interfere with

Plaintiffs’ use and enjoyment of their property by, amongst other things,

obstructing Plaintiffs’ light, air and southeasterly view of Lake St. Clair.




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      19.      On September 6, 2018, the ZBA held a hearing on the Nahras’s

application.

      20.      At the hearing, a representative of the Nahras’s represented to the

ZBA that if the variance was approved the Nahras’s home “will be in line with the

house to the north of the property.” (i.e., Plaintiffs’ home). (Exhibit B, ZBA

Minutes.)

      21.      Additionally, at the hearing, a ZBA member asked Chris Rayes, the

Community Development Director for the City, “if the [Nahras] wanted how far

back can [they] build the house if [they] wanted to.”

      22.      As Community Development Director, Rayes is in charge of planning,

zoning, engineering, and code enforcement for the City as well as the issuance of

building permits and certificates of occupancy.

      23.      Rayes responded “right where [they] are at,” meaning in line with

Plaintiffs’ home.

      24.      Rayes also stated that “they [the City] look at the existing structures

along there and draw a line between the structures to try and keep everyone in line

so neighbor to neighbor they don’t block views.”

      25.      The constructing of the Nahras’s home in line with Plaintiffs’ home

was a key consideration for the ZBA because, as noted by Rayes, one of the




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standards for granting a variance is whether it would do “substantial justice to the

petitioner without unduly burdening the surrounding property owners.”

      26.    Based upon the Nahras’s site plan and the representation made to the

ZBA, the ZBA ultimately granted the variances requested by the Nahras.

      27.    Importantly, at the time the variances were granted, Plaintiffs had no

reason to appeal the ZBA’s decision.

      28.    In fact, had the Nahras’s constructed their home in line with Plaintiffs’

home in accordance with their representations to the ZBA and its approval,

Plaintiffs would have had no issue with the setbacks of the Nahras’s home because

their view of Lake St. Clair would not have been blocked.

      29.    However, the Nahras, apparently believing they are free to lie to the

ZBA to obtain variances, proceeded to construct their home in a manner wildly out

of line with Plaintiffs’ home. (Exhibit C, Picture of Nahra Home.)

      30.    In fact, following the granting of the variances, the Nahras submitted

multiple revised plans to the City, which moved their home between 20 and 40 feet

closer to the water, thereby taking it out of line with Plaintiffs’ home and blocking

Plaintiffs’ access to light and air and the southeasterly view of Lake St. Clair.

(Exhibit D, Post-ZBA Site Plan.)




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         31.   The City and Rayes administratively approved these revised site plans

without bringing the matter back before the ZBA.

         32.   Upon realizing that the Nahras were not constructing their home in

conformity ZBA’s approval, Plaintiffs complained to both the Nahras and the City.

         33.   The Nahras responded by essentially telling Plaintiffs to “pound

sand.”

         34.   The City responded by ignoring Plaintiffs’ pleas and by approving the

Nahras’s plans to block Plaintiffs’ view and issuing them numerous permits,

despite its policy of keeping waterfront homes in line and the ZBA’s approval.

         35.   Consequently, having no other recourse, Plaintiffs filed a nuisance

abatement lawsuit in the Macomb County Circuit Court against the Nahras.

         36.   However, the Macomb County Circuit Court dismissed the lawsuit

without prejudice finding that it lacked jurisdiction because it believed (as argued

by the Nahras) that “there is a – the possibility of – a review and appeal to the

Zoning Board of Appeals,” even though it was the Nahras’s violation of the

approved variance (not the variance, itself) that was creating the nuisance.

         37.   Notably, though the City was not a named defendant in the lawsuit,

the City’s Attorney, Robert Ihrie, attended the hearing on the Nahras’s motion to

dismiss and (seemingly acting in concert) supported the Nahras’s position.




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      38.    Thereafter, Plaintiffs’ counsel sent Mr. Ihrie a letter requesting that

the variances granted to the Nahras be rescheduled for a hearing before the ZBA so

that it could be advised of the misrepresentations made by the Nahras and the City

and to review its approval of the variances.

      39.    Mr. Ihrie responded that he was “unable to recommend a

‘rescheduling’ of a Zoning Board of Appeals hearing” claiming (obliquely) that an

appeal to the ZBA was untimely.

      40.    In subsequent conversations, Mr. Ihrie continued in his refusal to

bring the matter back before the ZBA, indicated (clairvoyantly and tellingly) that

the ZBA would simply re-approve the Nahras’s variances and the blocking of

Plaintiffs’ views, and that the City fully intends on issuing a certificate of

occupancy for the Nahras’s home once completed.

      41.    Rayes was part of at least one of these conversations and indicated

that he had reviewed the Nahras’s revised plans, which proposed to block

Plaintiffs’ view, and approved the plans and issuance of permits, in direct

contradiction to the approval actually given by the ZBA.

      42.    Plaintiffs’ counsel also sent a request under the Michigan Freedom of

Information Act to the City seeking documentation that would shed light on why

the City was not enforcing its policy of keeping waterfront houses in line and why

Rayes approved the Nahras’s plans, which block Plaintiffs’ view.


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       43.   However, despite the limited temporal and factual scope of this

request, Mr. Ihrie demanded an egregious $3,000 deposit to cover his review of the

documents prior to their production.

       44.   Because of Mr. Ihrie’s demand, the records were not able to be

obtained, and the reasons for the City’s selective enforcement remain hidden.

       45.   However, what Plaintiffs do know is that, according to social media,

Mr. Nahra (the owner of a catering company who goes by the moniker “Chef

Bobby”) appears to be friends with the City’s Mayor, Kip Walby, and has actively

supported his election campaigns.

       46.   Such friendship and support may have its perks, like permission to

build a bigger home closer to the water, which blocks a neighbor’s view of the lake.

       47.   However, whether the City and Rayes’s actions are borne out of local

political cronyism or some other ill-will or animus, it is clear that there is no

rational reason for them to disregard the City’s policy of keeping waterfront homes

in line or for them to sanction the Nahras’s lies to the ZBA and the nuisance the

Nahras’s have created, which they are unwilling to remedy.

       48.   Without court intervention, the City and Rayes will continue to

improperly favor the Nahras, and the Nahras will finalize the construction of their

unlawful home, forever damaging Plaintiffs’ constitutional rights, property values,

and view of Lake St. Clair.


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                   COUNT I – EQUAL PROTECTION
            (CITY OF ST. CLAIR SHORES AND CHRIS RAYES)

      49.    Plaintiffs incorporate by reference the allegations set forth in the

preceding paragraphs as if set forth fully herein.

      50.    The Equal Protection Clause of the United States Constitution

provides that a state may not “deny to any person within its jurisdiction the equal

protection of the laws.” U.S. Const., Am. XIV, § 1.

      51.    Upon information and belief, Plaintiffs were similarly situated to other

waterfront property owners in the City.

      52.    The City has a policy or custom of keeping the homes of waterfront

property owners in line so views are not blocked.

      53.    Upon information and belief, the City also has a custom of selectively

enforcing the policy or custom of keeping the homes of waterfront property owners

in line so views are not blocked.

      54.    At all relevant times hereto, Rayes was acting under color of state law.

      55.    Rayes violated Plaintiffs’ constitutional right to equal protection by,

inter alia, approving the Nahras’s revised plans, which blocked Plaintiffs’ views,

issuing building, electrical and mechanical permits, and selectively enforcing the

City’s policy or custom of keeping the homes of waterfront property owners in line




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so views are not blocked, in contradiction with standing practice and the variances

granted by the ZBA.

      56.    The City’s custom of selectively enforcing the ZBA’s variance and

policy or custom of keeping the homes of waterfront property owners in line so

views are not blocked was the moving force behind the violation of Plaintiffs’

constitutional right to equal protection.

      57.    Upon information and belief, Plaintiffs were intentionally treated

differently by the City and Rayes than the City’s other waterfront property owners.

      58.    There was no rational basis for the City and Rayes’ differential

treatment of Plaintiffs.

      59.    As a direct and proximate cause of the City and Rayes’s unlawful

actions, Plaintiffs have sustained damages, including, but not limited to, monetary

damages and injury to their constitutional rights.

      WHEREFORE, Plaintiffs, respectfully requests that this Court enter an

Order and Judgment:

      A.     Declaring that the City and Rayes selectively enforced the
             City’s policy or custom of keeping the homes of waterfront
             property owners in line so views are not blocked, thereby
             denying Plaintiffs’ right to equal protection;

      B.     Awarding Plaintiffs’ compensatory damages, including lost
             property value, in an amount to be determined by the Court;




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      C.      Enjoining, amongst other things, the issuance of a certificate of
              occupancy to the Nahras or, if one has already issued, ordering
              its revocation; and

      D.      Awarding any other relief in favor of Plaintiffs the Court deems
              equitable and appropriate under the circumstances, including its
              costs, attorneys’ fees, and punitive damages under 42 USC §§
              1983 and 1988.


                COUNT II – SUBSTANTIVE DUE PROCESS
            (CITY OF ST. CLAIR SHORES AND CHIRS RAYES)

     60.      Plaintiffs incorporate by reference the allegations set forth in the

preceding paragraphs as if set forth fully herein.

     61.      The Due Process Clause of the United States Constitution provides

that “[n]o State shall . . . deprive any person of life, liberty, or property, without

due process of law[.]” U.S. Const., Am. XIV, §

     62.      The Constitution guarantees procedural and substantive due process to

landowners.

     63.      Plaintiffs have a protected property interest in the undisturbed use and

enjoyment of their property.

     64.      At all relevant times hereto, Rayes was acting under color of state law.

     65.      Rayes violated Plaintiffs’ constitutional right to substantive due

process by, inter alia, approving the Nahras’s revised plans, which blocked

Plaintiffs’ views, issuing building, electrical and mechanical permits, in violation



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of the variances granted by the ZBA, and selectively enforcing the City’s policy or

custom of keeping the homes of waterfront property owners in line so views are

not blocked.

     66.       The City’s custom of selectively enforcing the variances granted by

the ZBA and the policy or custom of keeping the homes of waterfront property

owners in line so views are not blocked was the moving force behind the violation

of Plaintiffs’ constitutional right to substantive due process.

     67.       The City and Rayes’s selective enforcement has deprived Plaintiffs of

their right to substantive due process because it is not rationally related to any

legitimate governmental interest and is arbitrary and capricious.

      68.      As a direct and proximate cause of the City and Rayes’s unlawful

actions, Plaintiffs have sustained damages, including, but not limited to, monetary

damages and injury to its constitutional rights.

      WHEREFORE, Plaintiffs, respectfully requests that this Court enter an

Order and Judgment:

      A.       Declaring that the City and Rayes selectively enforced the
               City’s policy or custom of keeping the homes of waterfront
               property owners in line so views are not blocked, thereby
               denying Plaintiffs their right to substantive due process;

      B.       Awarding Plaintiffs compensatory damages, including lost
               property value, in an amount to be determined by the Court;




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      C.     Enjoining, amongst other things, the issuance of a certificate of
             occupancy to the Nahras or, if one has already issued, ordering
             its revocation; and

      D.     Awarding any other relief in favor of Plaintiffs’ the Court
             deems equitable and appropriate under the circumstances,
             including its costs, attorneys’ fees, and punitive damages under
             42 USC §§ 1983 and 1988.

                            COUNT III – NUISANCE
                                (NAHRAS)

      69.    Plaintiffs incorporate by reference the allegations set forth in the

preceding paragraphs as if set forth fully herein.

      70.    Under Michigan law, a private nuisance is a nontrespassory invasion

of another’s interest in the private use and enjoyment of land.

      71.    Moreover, under Michigan law, violations of a zoning ordinance are

nuisances per se that are subject to mandatory abetment.

      72.    Plaintiffs have a protected property interest in the use and enjoyment

of their property.

      73.    The Nahras’s constructing of their home in such a way that blocks

Plaintiffs’ light, air and southeasterly view of Lake St. Clair in contravention of the

variances approved by the ZBA is interfering with Plaintiffs’ use and enjoinment

of their property.

      74.    The Nahras’s conduct is the legal cause of the invasion of and

interference with Plaintiffs’ use and enjoinment of their property.


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      75.    Upon information and belief, the Nahras’s conduct in constructing

their home in such a way that interferes with Plaintiffs’ use and enjoyment of their

property, including blocking access to light, air and the southeasterly view of Lake

St. Clair, is intentional and unreasonable.

      76.    As a direct and proximate result of the Nahras’s conduct, Plaintiff has

been significantly harmed, both irreparably, by the loss of their use and enjoyment

of their property, including access to light, air and southeasterly view of Lake St.

Clair, and monetarily due to lost property value.

      77.    Further, the Nahras’s constructing of their home in such a way that

causes it to not be in line with Plaintiffs’ home and to block Plaintiffs’ view is

contrary to the variances approved by the ZBA and a violation of the City’s Zoning

Ordinance, thereby constituting a nuisance per se.

      WHEREFORE, Plaintiffs, respectfully requests that this Court enter an

Order and Judgment:

      A.     Declaring that the Nahras constructing of their home in such a
             way that causes it to not be in line with Plaintiffs’ home and
             that blocks Plaintiffs’ view of Lake St. Clair constitutes a
             private nuisance and a nuisance per se;

      B.     Ordering the abatement of the nuisance causing conditions;

      C.     Awarding Plaintiffs compensatory damages, including lost
             property value, in an amount to be determined by the Court;
             and



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      D.    Awarding any other relief in favor of Plaintiffs’ the Court
            deems equitable and appropriate under the circumstance.


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